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DLA PIPER LLP (US)

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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FRED SPAGNOLA, individually and on

behalf of all those similarly situated

 

Plaintiff,
-against- 06 Civ. 9960 (HB)

THE CHUBB CORPORATION, FEDERAL
INSURANCE COMPANY, GREAT
NORTHERN INSURANCE COMPANY,
JOHN D. FINNEGAN and THOMAS F.
MOTAMED,

Defendants.
wens wn -- x
JONATHAN A. BERNSTEIN, individually
and on behalf of all those similarly situated,

 

 

Plaintiff,
-against- 08 Civ. 00193 (HB)
THE CHUBB CORPORATION, FEDERAL DECLARATION OF
INSURANCE COMPANY, GREAT RACHEL A. GUPTA
NORTHERN INSURANCE COMPANY, IN SUPPORT OF THE
JOHN D. FINNEGAN and THOMAS F. DEFENDANTS’ MOTION TO
MOTAMED, DISMISS THE COMPLAINTS
Defendants.

 

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RACHEL A. GUPTA, pursuant to 28 U.S.C. § 1746, declares as follows:
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1. I am an attorney representing the defendants in the above-captioned lawsuit. I
make the following declaration in support of the defendants’ Motion to Dismiss the Complaints
pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

2. Attached as Exhibit 1 is a true and correct copy of the First Amended Federal
Complaint filed in the Spagnola action captioned above.

3. Attached as Exhibit 2 is a true and correct copy of the Complaint filed in the
Bernstein action captioned above.

4, Attached as Exhibit 3 is a true and correct copy of the homeowners’ insurance
policy of Fred Spagnola issued by Great Northern Insurance Company for the year 2001, bearing
Bates numbers DEF.00218-00264.

5. Attached as Exhibit 4 is a true and correct copy of the homeowner’s policy for
Jonathan Bernstein’s Park Avenue cooperative issued by Great Northern Insurance Company for
the year 1988, bearing Bates numbers DEF.02397-02444.

6. Attached as Exhibits 5 is a true and correct copy of the homeowner’s policy for
Jonathan Bernstein’s East Hampton, New York house issued by Great Northern Insurance
Company for the year 1999, bearing Bates numbers DEF.02739-02770.

7. Attached as Exhibit 6 is a true and correct copy of the March 27, 2007 Opinion
and Order of the Honorable Harold Baer, Jr. granting the Defendants’ Motion to Dismiss the First
Amended Federal Complaint.

8. Attached as Exhibit 7 is a true and correct copy of a February 4, 2008 letter from
DLA Piper to the Honorable Harold Baer, Jr. which was endorsed by the Court on February 6,

2008.
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9, Attached as Exhibit 8 is a true and correct copy of the Opinion of Circuit Judges
Walker, Katzman and John R. Gibson of the United States Court of Appeals for the Second
Circuit, in the matter of Spagnola v. Chubb, et al., dated July 28, 2009.

10. Attached as Exhibit 9 is a true and correct copy of a November 5, 2009 email from
my colleague and counsel for the defendants, Sara Z. Moghadam, to plaintiffs’ counsel agreeing to
accept service on behalf of the individual defendants for discovery purposes.

11. Attached as Exhibit 10 is a true and correct copy of e-mail correspondence
between counsel for defendants and plaintiffs’ counsel relating to a proposed stipulation of
dismissal.

12. Attached as Exhibit 11 is a true and correct copy of Exhibit 21 to The Chubb
Corporation’s Form 10-K dated March 15, 2005.

13. Attached as Exhibit 12 is a true and correct copy of Exhibit 21 to The Chubb

Corporation’s Form 10-K dated March 2, 2009,
I declare under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York
November 30, 2009

Kall A Mi.

Rachel A. Gupta

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